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                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                         DARONTA T. LEWIS,
                                   7                                                          Case No. 23-cv-01616-AMO (PR)
                                                           Plaintiff,
                                   8                                                          ORDER DISMISSING ACTION WITH
                                                  v.                                          PREJUDICE
                                   9
                                         DAVID HOWELLS, et al.,
                                  10
                                                           Defendants.
                                  11

                                  12          The Court has received a copy of the “Stipulation For Dismissal of Entire Action With
Northern District of California
 United States District Court




                                  13   Prejudice” pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) signed by both parties. The

                                  14   signed stipulation states:

                                  15                     Plaintiff Daronta T. Lewis and Defendant Contra Costa County
                                                         stipulate that this action be dismissal with prejudice as to all
                                  16                     defendants. Each side to bear its own fees and costs.
                                  17                     This stipulation is submitted pursuant to Federal Rule of Civil
                                                         Procedure, Rule 41 (a)(l)(A)(ii), and operates as a voluntary dismissal
                                  18                     of the action.
                                  19
                                       Dkt. 21 at 1-2.
                                  20
                                              Accordingly, having been notified of this stipulation for voluntary dismissal, and it
                                  21
                                       appearing that no issue remains for the Court’s determination,
                                  22
                                              IT IS HEREBY ORDERED THAT this action and all claims asserted herein against all
                                  23
                                       named defendants are DISMISSED WITH PREJUDICE.
                                  24
                                              The Clerk of the Court shall terminate any pending motions and close the file.
                                  25
                                              IT IS SO ORDERED.
                                  26
                                       Dated: February 7, 2024                                        _____________________________
                                  27                                                                  ARACELI MARTÍNEZ-OLGUÍN
                                                                                                      United States District Judge
                                  28
